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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




 Wendell Shane Mackey,

                                   Plaintiff(s),
 v.                                                    Case No. 2:17−cv−12359−BAF−DRG
                                                       Hon. Bernard A. Friedman
 James Berryman, et al.,

                                   Defendant(s),



           ORDER OF REFERENCE TO UNITED STATES MAGISTRATE JUDGE

    IT IS ORDERED that the following motion(s) are referred to U.S. Magistrate Judge David
 R. Grand for a hearing and determination pursuant to 28 U.S.C. § 636(b)(1)(A):

                 Motion to Quash − #23
                 Motion to Stay − #24




                                                   s/Bernard A. Friedman
                                                   Bernard A. Friedman
                                                   United States District Judge



                                      Certificate of Service

    I hereby certify that on this date a copy of the foregoing notice was served upon the parties
 and/or counsel of record herein by electronic means or first class U.S. mail.



                                                   s/J. Curry−Williams
                                                   Case Manager

 Dated: November 21, 2018
